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              Exhibit 2
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Lees, George T (DOJ)

From:                              KARI OVERINGTON <kari.lynn.overington@gmail.com>
Sent:                              Wednesday, June 30, 2021 7:28 PM
Subject:                           Please Help
Attachments:                       DMV Letter.pdf


Good Evening



I am reaching out to you today in response to the attached letter which I received on Monday June 28, 2021. This letter
was very upsetting to me and I am reaching out to you and asking for your help in resolving this matter. As you can see
in the attached letter, my vanity license plate which says “FCANCER” is being recalled because it “does not represent the
State and the Division in a positive manner” and “Any plate considered offensive in nature will be denied or recalled if
issued in error”. I was diagnosed with an aggressive form of breast cancer (BRCA1, triple-negative, grade 3 invasive
ductal carcinoma, stage 2b) in 2018 when I was 37 years old. I am a cancer survivor, and while I also find the word
cancer offensive I do not believe that is the reason my plate is being recalled.

On Tuesday June 29, 2021 I contacted the phone number listed in Delaware Regulation 2285 Section 1.3 for the Dover
Registration Supervisor, in regards to appealing the decision in the attached letter, since the letter did not contain any
information about the appeals process. I did not take down the name of the person I spoke to, but I am certain he was
not the supervisor because he had to put me on hold to get more information. He advised me that the decision was
final and there was no appeals process. I was very upset by this brush off and asked him if there was anyone else I could
speak to because I wanted to handle this nicely and did not want to have to escalate to the level I am at now. Needless
to say you are receiving this correspondence because he was unable to escalate my phone call or provide me any other
means of resolving my dispute.

I reserved my vanity plate online on December 2, 2020 and received an email saying my vanity plate was on hold and I
had to complete my purchase in person which I did on January 6, 2021 at the Dover DMV. My plates arrived in the mail
the first week of February 2021 and have been on my car ever since. My vanity plate receives positive feedback
everywhere I go, and I have had more than a few deep conversations with complete strangers about my cancer and how
cancer has touched their lives because of it. The community of cancer warriors, cancer survivors, and those who love
them is far reaching and very supportive.

Once I got over the shock of the letter from the DMV and the brush off I received when I called I did additional
research. I have submitted a FOIA request for a listing of all approved vanity plates in the state of Delaware, because
one of the first things I noticed after I was told my plate was being recalled was how many other equally “offensive”
plates that don’t “represent the State and the Division in a positive manner” are on the roads. I don’t mention this
because I believe others should have their plates recalled, but to point out the subjective nature of the process. There
have been rulings in several court cases in recent years, including a 2020 case in California and a 2021 case in Rhode
Island, that not only addressed the issue of free speech as it applies to vanity tags, but also that regulations governing
the issuance of vanity tags must be “viewpoint neutral”.

Delaware Regulation 2285 Section 1.1 states in part “Motor vehicle specialists must be extremely careful when issuing
vanity license plates to ensure obscene plates are not issued”. I have consulted information available on the Cornell Law
School website in regards to the legal definition of “obscene” and found the following:

“Currently, obscenity is evaluated by federal and state courts alike using a tripartite standard established by Miller v.
California. The Miller test for obscenity includes the following criteria: (1) whether ‘the average person, applying
contemporary community standards’ would find that the work, ‘taken as a whole,’ appeals to ‘prurient interest’ (2)
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whether the work depicts or describes, in a patently offensive way, sexual conduct specifically defined by the applicable
state law, and (3) whether the work, ‘taken as a whole,’ lacks serious literary, artistic, political, or scientific value.”

Using the above standards it is my belief that “the average person” would not find my FCANCER vanity tag to be obscene
and I hope you agree.

I appreciate that you have taken the time to read this correspondence and the attached letter from the DMV and I am
grateful for anything you can do to help me convince the DMV to reverse their decision and allow me to keep my
tag. Please do not hesitate to call or email me back if you have any questions or suggestions for my next course of
action.



Sincerely,

Kari Lynn Overington, MBA

410-960-9127



Here are links to the items quoted above and other relevant information for your reference

https://regulations.delaware.gov/AdminCode/title2/2000/2200/Vehicle/2285.pdf

https://www.law.cornell.edu/wex/obscenity

https://apnews.com/article/freedom-of-speech-california-us-news-san-francisco-oakland-
ea43f5c5105177293254b8e6cdc13341

https://www.providencejournal.com/story/news/local/2021/02/22/ri-vanity-plates-stalled-fkgas-court-
case/4509964001/

https://ilr.law.uiowa.edu/print/volume-106/vanity-lawfare-vanity-license-plates-and-the-first-amendment/

https://www.delawareonline.com/story/news/2020/02/11/it-always-cracks-us-up-delaware-drivers-talk-their-vanity-
plates/2855504001/




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